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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAINE

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       Criminal No. 09-56-P-H
                                               )
RONALD WATERMAN                                )


                                              SPEEDY TRIAL ORDER

               This matter comes before the court upon the defendant’s motion to extend time in which to file

pretrial motions from October 21, 2009, to December 21, 2009. In support of this motion, the defendant has

represented the following: (1) co-defendant Cory MacDonald’s first motion to enlarge deadlines in which to file

pretrial motions was filed on behalf of all defendants and joined by all defendants except Adolphus Edwards;

(2) co-defendant Cory MacDonald’s second agreed-upon motion to enlarge does not appear to be filed on behalf

of all defendants; (3) defendant joins in co-defendant MacDonald’s second agreed-upon motion to enlarge time

to file pretrial motions until December 21, 2009; and (4) the defendant waives his right for a speedy trial

pursuant to the Speedy Trial Act, 21 U.S.C. § 3161-65. The government does not object to the motion.

               After full consideration of the representations of the parties in this case and after full

consideration of the record in this case, the court hereby incorporates such representations as findings of fact.

Taking into consideration the factors set forth in Title 18, United States Code, Section 3161(h)(7)(B), the court

can and does find that the ends of justice served by the requested continuance outweigh the best interest of the

public and the defendant in a speedy trial.




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          IT IS HEREBY ORDERED THAT:

1. The defendant’s Motion is hereby GRANTED.

2. The time period between October 21, 2009, and December 21, 2009, is hereby excluded from
   calculations under the Speedy Trial Act, Title 18, United States Code, Section 3161 et seq.

          SO ORDERED.

          Dated: October 21, 2009.
          Portland, Maine.                     /s/ John H. Rich III
                                               John H. Rich III
                                               U.S. Magistrate Judge




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